944 F.2d 901
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert JACKSON, Petitioner-Appellant,v.George N. MARTIN, Warden, Attorney General of SouthCarolina, Respondents-Appellees.
    No. 91-6583.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1991.Decided Sept. 23, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   Charles E. Simons, Jr., Senior District Judge.  (CA-89-1246-3-6H)
      Robert Jackson, appellant pro se.
      Donald John Zelenka, Deputy Attorney General, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before WIDENER, K.K. HALL and SPROUSE, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Robert Jackson seeks to appeal the district court's order dismissing this 28 U.S.C. § 2254 action.   Appellant's action was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B).   The magistrate judge recommended that relief be denied and advised appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.   Despite this warning, appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      This Court has held that the timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841, 846 (4th Cir.1985) (quoting  Carr v. Hutto, 737 F.2d 433, 434 (4th Cir.1984), cert. denied, 474 U.S. 1019 (1985)).   See generally United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).   Appellant has waived appellate review by failing to file objections after receiving proper notice.   We accordingly deny a certificate of probable cause to appeal and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    